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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DMSION

 UNITED STATES OF AMERICA,

              Plaintiff,                                  Case No. 1:2~-0077
       vs.                                                JUDGE TIMOTHY S. BLACK

LARRY HOUSEHOLDER, et al,

              Defendant.

                    NON-PARTY GEOFFREY VERBOFF'S
        MOTION IN LIMINE TO INVOKE BIS F'IF'TB AMENDMENT RIGHTS

        Non-Party Geoffrey Verhoff: through undersigned counsel, hereby moves this Comt for a
motion in limine to invoke his Fifth Amendment rights and for a protective order or, in the
alternative, to quash the trial subpoena served on him by defendant Larry Householder's counsel
on February 21, 2023.

                                           Respectfully Submitted,
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF omo
                                     WESTERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,                                 Case No. 1:20-CR-0077

        vs.                                                   JUDGE TIMOTHY S. BLACK

LARRY HOUSEHOLDER, et al,

                   Defendant.

                       MEMORANDUM IN SUPPORT OF
                     NON-PARTY GEOFFREY VERHOFF'S
         MOTION IN LIM/NE TO INVOKE HIS FIFm AMENDMENT RIGHTS

I.      INTRODUCTION

        Non-party Geoffrey Verhoff has been subpoenaed by counsel for defendant Larry

Householder to testify about a meeting he attended with defendant Householder and others on

October 10, 2018. The government's main cooperating witness, Juan Cespedes, has testified in

open court that defendant Householder received a bribe at that meeting. Mr. Verhoff is not on

trial, and he has not been accused of a crime. On advice of counsel, Mr. Verhoff has chosen to

invoke his constitutional rights under the Fifth Amendment, which protects the innocent who

finds himself in just this predicament. Under these circumstances, Mr. Verhoff cannot be

compelled to give testimony in violation of his Fifth Amendment rights. Accordingly, Mr.

Verhoff respectfully requests this Court to grant his motion in limine to invoke his Fifth

Amendment rights and for a protective order or, in the alternative, to quash the trial subpoena

served on him. t




1Counsel for Mr. Verhoff have met and conferred with counsel for defendant Householder
before submitting this motion. Counsel for defendant Householder have informed us that they
do not oppose this motion.
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 II.    ARGUMENT

        A.      Mr. Verhoff ls Entitled To Invoke His Fifth Amendment Rights And Should Not
                Be Compelled To Testify.

        It is a well-settled principle of constitutional law that "one of the Fifth Amendmenfs

 basic functions is to protect innocent men who otherwise might be ensnared by ambiguous

 circumstances." Ohio v. Reiner, 532 U.S. 17, 21 (2001) (internal quotations omitted). The

privilege afforded by the Fifth Amendment "must be accorded liberal construction in favor of the

right it was intended to secure." Hoffman v. United States, 341 U.S. 479,486 (1951).

        It is axiomatic ''that truthful responses of an innocent witness, as well as those of a

wrongdoer, may provide the government with incriminating evidence from the speaker's own

mouth." Reiner, 532 U.S. at 21. Mr. Verhoff was present at the October 10, 2018 meeting when

the alleged bnbery occmred. Therefore, Mr. Verhoff has reasonable cause to invoke.

        B.     Mr. Verhoff Should Not Be Required To Take The Stand Because It Is Futile And
               Unnecessary.

        The Sixth Circuit has disposed of the requirement for a witness to invoke in open court

when the court already knows that ''reasonable cause" to invoke the Fifth Amendment privilege

exists. United States v. Bates, 552 F.3d 472, 476 (6th Cir. 2009) ("when a defendant has a clear

entitlement to claim the [Fifth Amendment] privilege, forcing the defendant to take the stand is

'futile' and thus unnecessary''); United States v. McAllister, 693 F.3d 572, 583-84 (6th Cir. 2012)

(no error when court accepted witness's blanket refusal to testify). Here, it is obvious that

reasonable cause exists for Mr. Verhoff to invoke the privilege. Accordingly, Mr. Verhoff

should not be required to take the stand.




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 m      CONCLUSION
        For these reasons, the Court should grant Mr. Verhoff's unopposed motion in all respects.



 Dated: March 1, 2023


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                                  CERTIFICATE OF SERVICE

I I, ':'\ I certify ~ton March 1, 2 !23 I served the foregoin in the '\.hove-captioned action to:
~5l)t,--jf-,.~ 1                     <- u     ~rLH- ·              e-
 Notice of manual filing will be sent to all parties by operation of the Court's electronic filing
 system. Parties may access this filing at the Clerk's office.

                                                           l~t
                                                      William E. Hunt (0024951)
